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                                       UNITED STATES DISTRICT COURT
                                       NORTHERN DISTRICT OF GEORGIA
                                             ATLANTA DIVISION



Walter Smiley, Ruben Luna,
Germany Whitfield, and R.W.,

                         Plaintiffs,                          CIVIL ACTION FILE

vs.                                                             4:06-cv-140-CC

SONNY PERDUE Governor of the :
State of Georgia in his Official Capacity,
THURBERT E. BAKER Attorney
General of the State of Georgia in his
Official Capacity, SCOT DEAN Chief
of Probation, Cedartown, Polk County,
Georgia, in his Official Capacity,
CLAY N. WHITTLE Sheriff of
Columbia County, SHERIFF PHIL
SUMMERS Defendant Sheriff
Summers, ATTORNEY NATHAN T.
LEE, SHERIFF TIM BURKHALTER,
SHERIFF GARY GULLEDGE,
SHERIFF KELLY MCLENDON,
SHERIFF STACY L. NICHOLSON,
ATTORNEY WILLIAM D. NESMITH,
and SHERIFF PETE SMITH,
                         Defendants



                                           JUDGMENT
      This action having come before the Court, Honorable Clarence Cooper, United States District Judge, for
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consideration of the Parties' arguments, facts of the case, and applicable law, and the Court having dismissed the case


for lack of jurisdiction, it is:


          Ordered and Adjudged that the same hereby is dismissed for lack of jurisdiction.


          Dated at Rome, Georgia, this 30th day of September, 2013


                                                                JAMES N. HATTEN
                                                                  CLERK/DCE




                                                                  By:    S/Brenda Hambert
                                                                         Deputy Clerk
Prepared, Filed, and Entered
in the Clerk's Office
 September 30, 2013
JAMES N. HATTEN
CLERK/DCE


By: S/Brenda Hambert
          Deputy Clerk
